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1    HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
2    DAVID M. PORTER, Bar #127024
     Assistant Federal Defender
3    Counsel Designated for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
6    Attorneys for Defendant
     DERRICK STAMPLEY
7
8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. Cr. S 10-35 MCE
12                             Plaintiff,                STIPULATED MOTION AND ORDER TO
                                                         REDUCE SENTENCE PURSUANT TO 18
13             v.                                        U.S.C. § 3582(c)(2)
14   DERRICK STAMPLEY,                                   RETROACTIVE DRUGS-MINUS-TWO
                                                         REDUCTION CASE
15                             Defendant.
                                                         Judge: Honorable MORRISON C. ENGLAND, Jr.
16
17             Defendant, DERRICK STAMPLEY by and through his attorney, Assistant Federal
18   Defender David M. Porter, and plaintiff, UNITED STATES OF AMERICA, by and through its
19   counsel, Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On May 10, 2012, this Court sentenced Mr. Stampley to a term of 97 months

25   imprisonment;

26             3.         His total offense level was 29, his criminal history category was II, and the

27   resulting guideline range was 97 to 121 months;

28

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1              4.         The sentencing range applicable to Mr. Stampley was subsequently lowered by
2    the United States Sentencing Commission in Amendment 782, made retroactive on July 18,
3    2014, see 79 Fed. Reg. 44,973;
4              5.         Mr. Stampley’s total offense level has been reduced from 29 to 27, and his
5    amended guideline range is 78 to 97 months; and,
6              6.         Accordingly, the parties request the Court enter the order lodged herewith
7    reducing Mr. Stampley’s term of imprisonment to a term of 78 months.
8              7.         In light of the parties’ stipulation, the noticed motion filed April 22, 2015, is
9    withdrawn.
10   Respectfully submitted,
11   Dated: April 23, 2015                               Dated: April 23, 2015
12   BENJAMIN B. WAGNER                                  HEATHER E. WILLIAMS
     United States Attorney                              Federal Defender
13
14    /s/ Jason Hitt                                     /s/ David M. Porter
     JASON HITT                                          DAVID M. PORTER
15   Assistant U.S. Attorney                             Assistant Federal Defender
16   Attorney for Plaintiff                              Attorney for Defendant
     UNITED STATES OF AMERICA                            DERRICK STAMPLEY
17
18                                                       ORDER
19             This matter came before the Court on the stipulated motion of the defendant for reduction
20   of sentence pursuant to 18 U.S.C. § 3582(c)(2).
21             The parties agree, and the Court finds, that Mr. Stampley is entitled to the benefit
22   Amendment 782, which reduces the total offense level from 29 to 27, resulting in an amended
23   guideline range of 78 to 97 months.
24             IT IS HEREBY ORDERED that the term of imprisonment imposed in May 2012 is
25   reduced to a term of 78 months.
26             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
27   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
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1    reduction in sentence, and shall serve certified copies of the amended judgment on the United
2    States Bureau of Prisons and the United States Probation Office.
3              Unless otherwise ordered, Mr. Stampley shall report to the United States Probation Office
4    within seventy-two hours after his release.
5              The noticed motion having been withdrawn, the hearing set for May 7, 2015 is
6    VACATED.
7              IT IS SO ORDERED.
8    Dated: April 28, 2015
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     Stipulation and Order Re: Sentence Reduction      3
